       Case 1-17-46613-nhl            Doc 39       Filed 03/07/18   Entered 03/08/18 08:12:33




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:

                                                                    Chapter 11
                Bracha Cab Corp, et al.,
                                                                    Case No. 1-17-46613-nhl

                                             Debtors.               Jointly Administered
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        ORDER ESTABLISHING DEADLINE FOR FILING PROOFS OF CLAIM
        AND APPROVING THE FORM AND MANNER OF NOTICE THEREOF
                                                	
        Upon the application of the Debtors and Debtors in Possession for an order, pursuant to

Federal Rule of Bankruptcy Procedure (“Bankruptcy Rule”) 3003(c)(3), fixing a deadline and

establishing procedures for filing proofs of claim and approving the form and manner of service

thereof, and it appearing that the relief requested is in the best interests of the Debtors, its estate,

and creditors and that adequate notice has been given and that no further notice is necessary; and

after due deliberation and good and sufficient cause appearing therefor, it is hereby

        ORDERED, that except as otherwise provided herein, all persons and entities,

(including, without limitation, individuals, partnerships, corporations, joint ventures, and trusts)

that assert a claim, as defined in section 101(5) of 11 U.S.C. §§ 101 et seq. (the “Bankruptcy

Code”), against the Debtors which arose prior to the filing of the Chapter 11 petition on

December 8, 2017 or December 11, 2017, shall file a proof of such claim in writing so that it is

received on or before May 7, 2018 (the “Bar Date”); and it is further

        ORDERED, that notwithstanding any other provision hereof, proofs of claim filed by

governmental units must be filed on or before June 11, 2018; and it is further

        ORDERED, that the following procedures for the filing of proofs of claim shall apply:

        (a)      Proofs of claim shall conform substantially to Official Bankruptcy Form No. 410
      Case 1-17-46613-nhl        Doc 39     Filed 03/07/18     Entered 03/08/18 08:12:33




       (b)     Attorneys (with full access accounts) and employees of institutional creditors

               (with limited access accounts) shall file proofs of claim electronically on the

               Court’s Case Management/Electronic Case File (“CM/ECF”) system. Those

               without accounts to the CM/ECF system shall file their proofs of claim by mailing

               or delivering the original proof of claim to the United States Bankruptcy Court,

               Eastern District of New York, Conrad B. Duberstein U.S. Bankruptcy

               Courthouse, 271-C Cadman Plaza East, Suite 1595, Brooklyn, NY 11201-1800;

       (c)     Proofs of claim shall be deemed timely filed only when received by the Clerk of

               the Court on or before the Bar Date;

       (d)     Proofs of claim shall (i) be signed; (ii) include supporting documentation (if

               voluminous, attach a summary); (iii) be in the English language; and (iv) be

               denominated in United States currency;

       (e)     Proofs of claim shall specify by name and case number the Debtor against which

               the claim is filed; if the holder asserts a claim against more than one Debtor or has

               claims against different Debtors, the holder shall file a separate proof of claim

               form for each Debtor; and it is further

       ORDERED, that the following persons or entities need not file a proof of claim on or

prior to the Bar Date:

       (a)     Any person or entity that has already filed a proof of claim against one or more of

               the Debtors in these cases with the Clerk of the Bankruptcy Court for the Eastern

               District of New York in a form substantially similar to Official Bankruptcy Form

               No. 410;


                                                 2
      Case 1-17-46613-nhl         Doc 39     Filed 03/07/18      Entered 03/08/18 08:12:33




       (b)     Any person or entity whose claim is listed on the Schedules of Assets and

               Liabilities filed by any of the Debtors (collectively, the “Schedules”) if (i) the

               claim is not scheduled as “disputed,” “contingent” or “unliquidated”; and (ii) the

               claimant agrees with the amount, nature and priority of the claim as set forth in

               the Schedules; and (iii) the claimant does not dispute that the claim is an

               obligation of the specific Debtor against which the claim is listed in the

               Schedules;

       (c)     Any holder of a claim that has already been allowed in these cases by order of the

               Court;

       (d)     Any holder of a claim for which a different deadline for filing a proof of claim in

               these cases has already been fixed by this Court; or

       (e)     Any holder of a claim allowable under sections 503(b) and 507(a)(2) of the

       Bankruptcy Code as an expense of administration of the Debtors’ estate; and it is further

       ORDERED, that any person or entity that holds a claim that arises from the rejection of

an executory contract or unexpired lease, as to which the order authorizing such rejection is

dated on or before the date of entry of this Order, must file a proof of claim based on such

rejection on or before the later of the Bar Date or the date that is 30 days after the date of the

order authorizing such rejection, and any person or entity that holds a claim that arises from the

rejection of an executory contract or unexpired lease, as to which an order authorizing such

rejection is dated after the date of entry of this Order, must file a proof of claim on or before such

date as the Court may fix in the applicable order authorizing such rejection; and it is further




                                                  3
      Case 1-17-46613-nhl          Doc 39     Filed 03/07/18      Entered 03/08/18 08:12:33




          ORDERED, that holders of equity security interests in the Debtors need not file proofs

of interest with respect to the ownership of such interests, but if any such holder has a claim

against any of the Debtors (including a claim relating to an equity interest or the purchase or sale

of the equity interest), a proof of claim shall be filed on or prior to the Bar Date; and it is further

          ORDERED, that if the Debtors amend or supplement the Schedules after the date of this

Order, the Debtors shall give notice of any amendment or supplement to the holders of claims

amended thereby, and holders of such claims shall have 30 days from the date of service of the

notice to file proofs of claim and shall be given notice of that deadline; and it is further

          ORDERED, that nothing in this Order shall prejudice the right of the Debtors or any

other party in interest to dispute or assert offsets or defenses to any claim listed in the Schedules;

and it is further

          ORDERED, that pursuant to Bankruptcy Rule 3003(c)(2), a holder of a claim that fails

to comply with this Order by timely filing a proof of claim in appropriate form shall not be

treated as a creditor with respect to that claim for purposes of voting and distribution; and it is

further

          ORDERED, that notice of the Bar Date substantially in the form annexed hereto is

approved and shall be deemed adequate and sufficient if served by first-class mail at least 35

days prior to the Bar Date on:

          (a)    the United States trustee;

          (b)    counsel to each official committee;

          (c)    all persons or entities that have requested notice of the proceedings in these cases;

          (d)    all persons or entities that have filed claims in these cases;


                                                    4
       Case 1-17-46613-nhl        Doc 39      Filed 03/07/18    Entered 03/08/18 08:12:33




        (e)     all creditors and other known holders of claims as of the date of this Order,

                including all persons or entities listed in the Schedules as holding claims;

        (f)     all parties to executory contracts and unexpired leases of the Debtors;

        (g)     all parties to litigation with the Debtors;

        (h)     the Internal Revenue Service for the district in which the case is pending and, if

                required by Bankruptcy Rule 2002(j), the Securities and Exchange Commission

                and any other required governmental units; and it is further

         ORDERED, that the Debtors are authorized and empowered to take such steps and

perform such acts as may be necessary to implement and effectuate the terms of this Order; and

it is further

        ORDERED, that entry of this Order is without prejudice to the right of the Debtors to

seek a further order of this Court fixing a date by which holders of claims or interests not subject

to the Bar Date established herein must file such proofs of claim or interest or be barred from

doing so.




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 Dated: March 7, 2018                                                Nancy Hershey Lord
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        Brooklyn, New York                                      United States Bankruptcy Judge
